                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                               )
                                                       )       Case No. 1:15-cr-65-HSM-SKL
v.                                                     )
                                                       )
JOHNNY DEWAYNE FLOWERS                                 )

                                             ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the two-count

Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3) adjudicate

Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a decision on

whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

custody until sentencing in this matter [Doc. 24]. Neither party filed a timely objection to the report

and recommendation. After reviewing the record, the Court agrees with the magistrate judge’s report

and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

report and recommendation [Doc. 24] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

               is GRANTED;

       (2)     Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

               Indictment;

       (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;

               and

       (5)     Defendant SHALL REMAIN in custody until sentencing in this matter which is



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            scheduled to take place on December 21, 2015 at 2:00 p.m. [EASTERN] before the

            Honorable Harry S. Mattice, Jr.

      SO ORDERED.

      ENTER:

                                                       /s/Harry S. Mattice, Jr.
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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